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                        IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


HELEN KREMS,                                  )   CASE NO. 1:17-cv-46
                                              )
       Plaintiff,                             )   JUDGE
                                              )
v.                                            )
                                              )
ABSOLUTE ROOFING &                            )
CONSTRUCTION, INC.,                           )   NOTICE OF REMOVAL
                                              )
       Defendant.                             )
                                              )


       Defendant Absolute Roofing & Construction, Inc. (“Absolute Roofing”) through

undersigned counsel and with full reservation of any and all rights and defenses, respectfully

petitions this Court, pursuant to 28 U.S.C. §§1331, 1441, and 1446 to remove this civil action

from the Court of Common Pleas, Cuyahoga County, State of Ohio, to the United States District

Court for the Northern District of Ohio, Eastern Division. Removal to this Court is proper for

the reasons set forth below:

       1.      Absolute Roofing is a defendant in a civil action pending in the Court of Common

Pleas, Cuyahoga County, State of Ohio, entitled Helen Krems v. Absolute Roofing &

Construction, Inc., Case No. CV-16-872838 and the Complaint is attached as Exhibit 1.

       2.      Absolute was served with Plaintiff’s Complaint on December 9, 2016.      Copies of

all process, pleadings and orders served upon Defendant are attached as Exhibit 2. This Notice
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of Removal is being filed within thirty (30) days from the date of Absolute Roofing’s receipt of

the Complaint, and is, therefore, timely pursuant to 28 U.S.C. § 1446(b).

       3.      Absolute Roofing has a right to remove this action to this Honorable Federal

District Court pursuant to 28 U.S.C. §1441, et seq. and to invoke this Court’s original

jurisdiction pursuant to 28 U.S.C. §1331, which provides that "[t]he district courts shall have

original jurisdiction of all civil actions arising under the constitution, laws or treaties of the

United States." 28 U.S.C. §1331. The Complaint alleges violations of 29 U.S.C. §201, et seq.,

the Fair Labor Standards Act of 1938 (the “FLSA”) and therefore presents a federal question

pursuant to 28 U.S.C. §1331.

       4.      This court also has supplemental jurisdiction over Plaintiff’s state law claims

pursuant to 28 U.S.C. §1367(a). Here, Plaintiff’s state law claims derive from the same common

nucleus of operative fact as the alleged violations of federal law and form a part of the same

controversy alleged in the Plaintiff’s Amended Complaint. As such, the entire action is properly

removed under 28 U.S. C. §§1331 and 1441. See, Jackson v. Kellermeyer Bldg. Servs., N.D.

Ohio Case No. 5:12CV211, 2012 U.S. Dist. LEXIS 121485 (Aug. 27, 2012) (denying motion for

remand removal to federal court in an action involving FLSA, Ohio Minimum Wage Age

(O.R.C. 4112.01 et seq.), and discrimination claims because claims arouse out of common

nucleus of operative facts).

       5.      A copy of this Notice of Removal will be promptly filed with the appropriate state

court pursuant to 28 U.S.C. §1446(d).

       WHEREFORE, Defendant hereby removes this action from the Court of Common Pleas,

Cuyahoga County, Ohio to this Honorable Court.




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                                              Respectfully submitted,


                                                      s/Julie L. Juergens
                                              JULIE L. JUERGENS (0066873)
                                              MELANIE R. IRVIN (0084407)
                                              GALLAGHER SHARP LLP
                                              Sixth Floor - Bulkley Building
                                              1501 Euclid Avenue
                                              Cleveland, Ohio 44115
                                              (216) 241-5310 (phone)
                                              (216) 241-1608 (fax)
                                              jjuergens@gallaghersharp.com
                                              mirvin@gallaghersharp.com

                                              Counsel for Defendant,
                                              Absolute Roofing & Construction, Inc.



                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 6, 2017 the foregoing Notice of Removal was filed

electronically. Notice of this filing will be sent by operation of the Court’s electronic filing

system to all parties indicated on the electronic filing receipt. All other parties will be served by

electronic mail. Parties may access this filing through the Court’s system.



                                                      s/Julie L. Juergens
                                              JULIE L. JUERGENS (0066873)
                                              MELANIE R. IRVIN (0084407)
                                              Counsel for Defendant,
                                              Absolute Roofing & Construction, Inc.




                                                 3
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                                           NAILAH K. BYRD
                                   CUYAHOGA COUNTY CUERK OF COURTS
                                                   1200 Ontario Street
                                                  Cleveland, Ohio 44113




                                             Court of Common Pleas


                                           New Case Electronically Filed:
                                             December 7,2016 15:13


                                       By: MICHAEL D. GOLDSTEIN 0075661

                                               Confirmation Nbr. 930263



  HELEN KREMS                                                             CV 16 872838

          vs.
                                                                Judge: JOHN P. O'DONNELL
  ABSOLUTE ROOFING & CONSTRUCTION, INC.




                                                   Pages Filed: 7




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                                                     EXHIBIT 1
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                                     IN THE COURT OF COMMON PLEAS
                                           CUYAHOGA COUNTY

     HELEN KREMS                                          )       CASE NO.
     1533 Waterbury Rd.                                  )
     Lakewood, OH 44107                                   )       JUDGE:
                                                         )
                      Plaintiff,                          )       COMPLAINT
                                                         )
             vs.                                         )
                                                         )        (Jury Demand Endorsed Hereon)
     ABSOLUTE ROOFING                                    )
     & CONSTRUCTION, INC.                                )
     12301 Sprecher Ave.                                 )
     Cleveland, OH 44135                                 )
                                                         )
                      Defendant.                         )

             Now comes the Plaintiff, Helen Krems, by and through her undersigned counsel and for

     her Complaint against Defendant Absolute Roofing & Construction, Inc. (hereinafter “Absolute

     Roofing”) states as follows:


         1. This is an action for: (i) Age Discrimination in violation of Ohio Revised Code Chapter

     4112; (ii) unpaid overtime compensation pursuant to Ohio Revised Code Chapter 4111 and the

     Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201 et seq; and (iii) Wrongful Termination in

     Violation of Public Policy.

                                                       PARTIES

         2. Plaintiff is an individual who resides in Lakewood, Cuyahoga County, Ohio.

         3. At all times relevant herein, Plaintiff was an employee of Defendant Absolute Roofing as

     defined by R.C. Chapter 4112.

         4. At all times relevant herein, Plaintiff was and is over the age of forty (40).




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         5. At all times relevant herein, Plaintiff was an employee engaged in commerce within the

    meaning of 29 U.S.C. § § 203 and 207 and as defined by R.C. Chapter 4111 and the common

    law of the State of Ohio.

         6. Defendant Absolute Roofing is a corporation licensed to conduct business in the State of

    Ohio and regularly conducts business in Cuyahoga County with its principal place of business

    located in the City of Cleveland, County of Cuyahoga, State of Ohio.

         7. Defendant is an employer as defined by R.C. Chapter 4112

         8. Defendant is an employer engaged in commerce within the meaning of 29 U.S.C. § § 203

    and 207 and as defined by R.C. Chapter 4111 and the common law of the State of Ohio.

                                         JURISDICTION AND VENUE

         9. This Court has concurrent jurisdiction over Plaintiffs sole federal claim pursuant to 29

    U.S.C. § 216(b).

                                                        FACTS

         10. Plaintiff hereby alleges and avers each and every allegation of the previous paragraphs as

    through each were fully restated herein.

         11. Plaintiff was employed by Defendant Absolute Roofing from on or about February 2005

    until on or about August 29, 2016, when her employment was terminated without just cause at

    the age of fifty-five (55).

         12. During Plaintiffs eleven (11) year employment with Defendant Absolute Roofing, she

    was given multiple job promotions based upon her roofing and construction experience in

    addition to pay raises.

         13. Plaintiffs most recent pay raise occurred on or about June 2016.




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         14. On or about June 2016, Defendant Absolute Roofing hired a receptionist who was

    substantially younger and lesser paid than Plaintiff.

         15. Following Plaintiffs termination without just cause on or about August 29, 2016, the

    substantially younger and lesser paid receptionist replaced Plaintiff and has been reassigned to

    perform work that was previously the responsibility of Plaintiff.

         16. Plaintiff was terminated because of her age and but for her age and pay rate, she would

    not have been terminated.

         17. At all times relevant herein, Plaintiff was qualified for her position at Absolute Roofing.

         18. At all times relevant herein, Plaintiff was a non-exempt employee of Defendant Absolute

    Roofing and paid on an hourly basis.

         19. Based upon information and belief, Plaintiff was paid every week.

         20. During Plaintiffs period of employment, Defendant Absolute Roofing employed Plaintiff

    and permitted and required her to work workweeks longer than forty (40) hours on a regular

    basis.

        21. During Plaintiffs period of employment, Defendant Absolute repeatedly failed to

    account for Plaintiffs work time, paid the incorrect rate of pay and as a result, Plaintiff

    consistently performed work for Defendant Absolute Roofing in excess of forty (40) hours per

    week without receiving the correct and required rate of one and one-half (1.5) times her regularly

    hourly rate for overtime hours worked.

                                          COUNT ONE
                              AGE DISCRIMINATION (R.C. CHAPTER 4112)

        22. Plaintiff hereby alleges and avers each and every allegation of the previous paragraphs as

    through each were fully restated herein.




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         23. Defendant Absolute Roofing’s actions constitute unlawful age discrimination in violation

    of R.C. § § 4112.02 and 4112.99.

         24. As a direct and proximate result of Defendant Absolute Roofing’s unlawful age

    discrimination, Plaintiff has suffered and continues to suffer injury including loss of past and

    future income and benefits, loss of career and business opportunities.                  Plaintiff has suffered

    emotional pain, mental anguish, and a loss of enjoyment of life.                  Plaintiff has also incurred

    attorney fees and suffered other economic and non-economic losses.

                                   COUNT TWO
            VIOLATION OF THE OHIO MINIMUM FAIR WAGES STANDARDS ACT
                               (R.C. CHAPTER 4111)

         25. Plaintiff hereby alleges and avers each and every allegation of the previous paragraphs as

    through each were fully restated herein.

         26. At all times relevant herein, Defendant was required to compensate Plaintiff at a rate of

    one and one-half (1.5) times her regular pay rate for every hour in excess of forty (40) hours per

    week pursuant to R.C. § 4111.03.

         27. Plaintiff was regularly required to work in excess of forty (40) hours per week, but was

    not paid at the correct rate for such work performed.

         28. Defendant Absolute Roofing’s actions were a knowing and willful violation of Plaintiff s

    right to overtime compensation as required by Ohio law.

                                             COUNT THREE
                                       UNPAID WAGES (R.C. $ 4113.15)

         29. Plaintiff hereby alleges and avers each and every allegation of the previous paragraphs as

    through each were fully restated herein.

         30. Defendant breached its contractual obligations to Plaintiff by failing to pay her wages for

    hours worked.


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        31. Pursuant to R.C. § 4113.15(B), Defendant is liable to Plaintiff for the unpaid overtime

    wages in addition to liquidated damages equaling either $200.00 or six percent (6%) of the

    unpaid wages, whichever is greater.

                                               COUNT FOUR
                                          VIOLATIONS OF THE FLSA

        32. Plaintiff hereby alleges and avers each and every allegation of the previous paragraphs as

    through each were fully restated herein.

        33. At all times relevant herein, Defendant was required to compensate Plaintiff at a rate of

    one and one-half (1.5) times her regular pay rate for every hour in excess of forty (40) hours per

    week pursuant to 29 U.S.C § 207(a).

        34. Plaintiff was regularly required to work in excess of forty (40) hours per week, but was

    not paid at the correct rate for such work performed.

        35. Defendant Absolute Roofing’s actions were knowing and willful.

        36. Pursuant to 29 U.S.C. § 216(b), Defendant is liable to Plaintiff for unpaid overtime

    compensation for the past three (3) years in addition to liquidated damages in an amount equal to

    her unpaid overtime compensation, costs of this action, and reasonable attorney fees.

                                COUNT FIVE
           WRONGFUL TERMINATION IN VIOLATION OF OHIO PUBLIC POLICY

        37. Plaintiff hereby alleges and avers each and every allegation of the previous paragraphs as

    through each were fully restated herein.

        38. Defendant Absolute Roofing’s conduct in terminating Plaintiff violated clearly

    established public policy, including, but not limited to, the following:

             a. Failing to maintain adequate pay records;

             b. Failing to pay overtime wages as required by statute;



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             c.   Discriminating against Plaintiff solely based upon her age; and

             d. Other violations to be determined in discovery.

        39. Termination of employees similar to Plaintiffjeopardizes Ohio public policy.

        40. Plaintiffs termination was motivated by conduct related to Ohio public policy.

        41. Defendant Absolute Roofing lacked an overriding legitimate business justification for the

    termination.

                                             PRAYER FOR RELIEF

             WHEREFORE, Plaintiff demands judgment against Defendant Absolute Roofing on all

    counts as follows:

             A. Compensatory damages for lost wages, lost employment opportunity, lost benefits,
                and other economic damages in an amount exceeding $25,000.00 (TWENTY-FIVE
                THOUSAND DOLLARS);

             B. Compensatory damages for emotional distress in an amount exceeding $25,000.00
                (TWENTY-FIVE THOUSAND DOLLARS);

             C. Compensatory damages in an amount equal to the unpaid compensation, including
                interest and statutory penalties;

             D. An award of liquidated damages as permitted under Federal and State Law;

             E. For pre and post judgment interest;

             F. Attorney fees and costs Plaintiff incurs to prosecute this action;

             G. Punitive damages in an amount to be determined at Trial; and

             H. Any additional relief as the Court deems just and equitable.




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                                                        Respectfully submitted,

                                                        /s/ Michael D. Goldstein_ _ _ _ _ _ _
                                                        MICHAEL D. GOLDSTEIN (0075661)
                                                        JOSEPH N. CINDRIC (0092624)
                                                        GOLDSTEIN & GOLDSTEIN CO., L.P.A.
                                                        55 Public Square, Suite 2075
                                                        Cleveland, Ohio 44113
                                                        (Ph: 216-241-6677; fax: 216-241-3748)
                                                        E-Mail: Joseph@gnglawyers.com
                                                        Attorneys for Plaintiff




                                               Jury Demand

                     A trial by jury is hereby requested on all matters herein.


                                                        /$/ Michael D. Goldstein_ _ _ _ _ _ _
                                                        MICHAEL D. GOLDSTEIN (0075661)




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SUMMONS IN A Case: 1:17-cv-00046-PAG
             CIVIL ACTION             Doc #: 1 Filed:
                             COURT OF COMMON   PLEAS,01/06/17
                                                      CUYAHOGA12 COUNTY
                                                                 of 13. PageID #: 12
                                                                         JUSTICE  CENTER
                                                                                             CLEVELAND, OHIO 44113
             CASE NO.                                  SUMMONS NO.
          CV16872838                 D1 FX                 30918831                                          Rule 4 (B) Ohio

                                                                                                            Rules of Civil
                                                                                                            Procedure
                          HELEN KREMS                             PLAINTIFF
                                VS                                                                         SUMMONS
     ABSOLUTE ROOFING & CONSTRUCTION,                      INC.   DEFENDANT




     ABSOLUTE ROOFING & CONSTRUCTION,                                              You have been named defendant in a complaint
     INC .                                                                       (copy attached hereto) filed in Cuyahoga County
     12301 SPRECHER AVENUE                                                       Court of Common Pleas, Cuyahoga County Justice
     CLEVELAND OH 44135                                                          Center, Cleveland, Ohio 44113, by the plaintiff
                                                                                 named herein.

                                                                                   You are hereby summoned and required to answer
                                                                                 the complaint within 28 days after service of this
                Said answer is required to be served on:                         summons upon you, exclusive of the day of service.

                                                                                   Said answer is required to be served on Plaintiffs
     Plantiffs Attorney                                                          Attorney (Address denoted by arrow at left.)

     MICHAEL D GOLDSTEIN                                                           Your answer must also be filed with the court
     55 PUBLIC SQUARE, SUITE 2075                                                within 3 days after service of said answer on
                                                                                 plaintiffs attorney.
     CLEVELAND, OH 44113-0000
                                                                                   If you fail to do so, judgment by default will be
                                                                                 rendered against you for the relief demanded in the
                                                                                 complaint.

              Case has been assigned to Judge:

     JOHN P O'DONNELL
     Do not contact judge. Judge's name is given for
     attorney's reference only.

                                                                            NAILAH K.      BYRD
                                                                      Clerk of the Court of Common Pleas
                                                                                                              xNyiifM
                  DATE
      Dec 8,       2016                          By.
                                                                   Deputy


        COMPLAINT FILED           12/07/2016
                                                                               30918831




                                                                   EXHIBIT 2
             Case: 1:17-cv-00046-PAG Doc #: 1 Filed: 01/06/17 13 of 13. PageID #: 13




December 14,2016

Dear Customer:

The following is the proof-of-delivery for tracking number 784916911328.


Delivery Information:
Status:                     Delivered                    Delivered to:            Receptionist/Front Desk
Signed for by:              B.NOVCKY                     Delivery location:       12301 SPRECHER AVE
                                                                                  CLEVELAND, OH 44135

Service type:               FedEx Express Saver          Delivery date:           Dec 9, 2016 11:28
Special Handling:           Deliver Weekday

                            Direct Signature Required




                    WV'll/A
Shipping Information:
Tracking number:            784916911328                 Ship date:               Dec 8, 2016
                                                         Weight:                  0.5 lbs/0.2 kg



Recipient:                                               Shipper:
ABSOLUTE ROOFING & CONSTRUCTION, IN                      CCoC
12301 SPRECHER AVENUE                                    1200 Ontario
CLEVELAND, OH 44135 US                                   Cleveland, OH 44113 US

Reference                                                CV16872838
Invoice number                                           30918831



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